Case 6:22-cv-00575-CEM-DCI Document 27 Filed 08/18/22 Page 1 of 4 PageID 95




                   UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                        Case No. 6:22-cv-00575-CEM-EJK

 LISA DISSINGER,

       Plaintiff,

 v.

 FRONTLINE ASSET STRATEGIES
 LLC,

       Defendant.
                                             /

      MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

      NOW COMES Lisa Dissinger (“Plaintiff”), by and through her undersigned

counsel, and pursuant to Fed. R. Civ. P. 15(a)(2), bringing this Motion for Leave to

File First Amended Complaint, and in support thereof, stating as follows:

      1.     On March 21, 2022, Plaintiff filed the instant action against Frontline

Asset Strategies LLC, (“Defendant”) seeking redress for violations of the Fair Debt

Collection Practices Act, 15 U.S.C. §1692 et seq., and the Florida Consumer

Collection Practices Act (“FCCPA”), Fla. Stat. §559.55 et seq. [Dkt. 1]

      2.     Plaintiff’s claims arise from Defendant’s alleged abusive debt

collection practices.


                                         1
Case 6:22-cv-00575-CEM-DCI Document 27 Filed 08/18/22 Page 2 of 4 PageID 96




      3.     On June 30, 2022, Defendant filed a Motion to Dismiss (“Defendant’s

Motion”) arguing that Plaintiff’s complaint should be dismissed for shotgun

pleading.

      4.     In an effort to avoid unnecessary Motion practice, Plaintiff is seeking

to amend her complaint to remove all shotgun pleadings. See attached Exhibit A, a

true and correct copy of Plaintiff’s proposed First Amended Complaint.

      5.     Pursuant to Fed. R. Civ. P. 15(a)(2), a court should freely give a party

leave to amend its pleading when justice requires.

      6.     “Rule 15(a) declares that leave to amend ‘shall be freely given when

justice so requires’; this mandate is to be heeded. If the underlying facts or

circumstances relied upon by a plaintiff may be a proper subject of relief, he ought

to be afforded an opportunity to test his claim on the merits. In the absence of any

apparent or declared reason--such as undue delay, bad faith or dilatory motive on the

part of the movant, repeated failure to cure deficiencies by amendment, futility of

amendment, etc.--the leave sought should, as the rules require, be ‘freely given.’”

Foman v. Davis, 371 U.S. 178, 182 (1962) (emphasis added).

      7.     Here there is good cause to allow Plaintiff to amend her Complaint to

simply remove any shotgun pleadings.




                                         2
Case 6:22-cv-00575-CEM-DCI Document 27 Filed 08/18/22 Page 3 of 4 PageID 97




      8.     Moreover, Defendant would not be prejudiced by the amendment as (1)

no discovery has been completed, (2) there is ample time to complete discovery; and

(3) Plaintiff is not asserting additional causes of action against Defendant.

      9.     Simply put, there is good cause for the amendment and the amendment

would avoid the need for expensive and draining motion practice.

      10.    Moreover, the amendment will not impact any deadlines previously set

by the Court.

      11.    Plaintiff seeks to amend her complaint in good faith and this is

Plaintiff’s first request to amend her complaint.

      12.    Based on the foregoing, the interests of justice dictate that Plaintiff

should be afforded the opportunity to amend her complaint to remove its shotgun

pleading pursuant to local rules.

      13.    Plaintiff’s counsel conferred with Defendant’s counsel regarding the

relief sought herein and Defendant’s counsel does not oppose the instant motion.

      WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter

an order granting Plaintiff leave to file her First Amended Complaint and grant any

further relief the Court deems just and proper.




                                          3
Case 6:22-cv-00575-CEM-DCI Document 27 Filed 08/18/22 Page 4 of 4 PageID 98




                   LOCAL RULE 3.01(g) CERTIFICATION

Plaintiff’s counsel conferred with Defendant’s counsel regarding the relief sought
herein and Defendant’s counsel does not oppose all of the instant motion.




Dated: August 18, 2022                       Respectfully submitted,

                                             LISA DISSINGER

                                             By: Alexander J. Taylor

                                             Alexander J. Taylor, Esq.
                                             Florida Bar No. 1013947
                                             SULAIMAN LAW GROUP, LTD.
                                             2500 South Highland Avenue
                                             Suite 200
                                             Lombard, Illinois 60148
                                             (630) 575-8181
                                             ataylor@sulaimanlaw.com




                                         4
